
USCA1 Opinion

	










          May 16, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

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        No. 95-1411


                                    UNITED STATES,

                                      Appellee,

                                          v.

                              MARIA LUCIA RAZO-GRANADO,

                                Defendant, Appellant.

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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Hector M. Laffitte, U.S. District Judge]
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                                 ____________________

                                        Before

                                 Selya, Cyr and Lynch,
                                   Circuit Judges.
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            Maria Lucia Razo-Granado on brief pro se.
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            Guillermo Gil, United States Attorney, and Joseph J.  Frattallone,
            _____________                              ______________________
        Assistant United States Attorney, on brief for appellee.


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                 Per  Curiam. Appellant Maria  Razo-Granado was convicted
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            of drug offenses arising  out of a failed attempt  to smuggle

            cocaine  into  the United  States.   She  did not  appeal her

            conviction or  sentence and  is presently serving  a 78-month

            prison term.   Appellant appeals from a  district court order

            that summarily dismissed her 28  U.S.C.   2255 motion without

            prejudice.  We affirm  the dismissal, but we modify it  to be

            with prejudice.
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                 Appellant's   2255 motion alleged three claims: (1) that

            customs  officers were  "ineffective" and  "ignorant" because

            initial field  tests suggested that  the controlled substance

            appellant   was  carrying   was  heroin,  when   later  tests

            determined that  it was cocaine; (2)  that appellant's Fourth

            Amendment  rights   were  violated  when  she   was  stopped,

            detained, questioned, and subjected to the warrantless search

            of her  luggage and its  contents when she  presented herself

            for  entry at the United States border, (3) that the district

            judge erred by sentencing appellant based on the total amount

            of  cocaine that  was  recovered,  as  opposed  to  a  lesser

            quantity of pure cocaine.     As appellant's  first and third

            claims do not assert a constitutional or jurisdictional error

            or  an  error that  resulted  in  a complete  miscarriage  of

            justice,  they are not cognizable under   2255. See Knight v.
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            United  States,   37  F.3d  769,  772-74   (1st  Cir.  1994).
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            Moreover, both claims are patently meritless.1
                                                         1

                 Appellant's Fourth Amendment claim similarly may not  be

            reviewed on  the merits due to  appellant's double procedural

            default.  See Knight,  37 F.3d at 774 ("Normally,  failure to
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            raise  a  constitutional  issue  on direct  appeal  will  bar

            raising the  issue on collateral attack  unless the defendant

            can  show  cause for  the  failure  and actual  prejudice.").

            Appellant has  not alleged  any "cause"  for  her failure  to

            raise this issue before the trial judge and on direct appeal.

            Thus,  her Fourth  Amendment claim  may  not now  be reviewed

            under   2255.2
                         2

                 In  view  of  the  foregoing,  the  judgment  dismissing

            appellant's   2255 motion is affirmed and modified to reflect
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            that the dismissal is with prejudice.
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               1  The fact  that initial  field tests suggested  that the
               1
            controlled  substance involved  in this  case was  heroin had
            absolutely  no  impact on  appellant's trial,  conviction, or
            sentence.   The record further establishes  that the district
            judge  properly relied on  the entire weight  of the cocaine-
            mixture that  was recovered  from appellant's  possessions in
            sentencing appellant.  See U.S.S.G.  2D1.1(c), n. * (1991).  
                                   ___

               2We note that the trial record strongly suggests that this
               2
            claim  is meritless  in  any  event.    And,  as  appellant's
            procedural default bars review of her Fourth Amendment claim,
            we need not  decide whether  Stone v. Powell,  428 U.S.  465,
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            481-82, 494 (1976)(barring habeas  review of Fourth Amendment
            exclusionary  rule  claims  under  28 U.S.C.     2254),  also
            applies to proceedings under 28 U.S.C.   2255.

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